      Case 22-56521-sms       Doc 5-1 Filed 08/22/22 Entered 08/22/22 09:40:15      Desc Fin.
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                                  UNITED STATES BANKRUPTCY COURT
                                       Northern District of Georgia
                                            Atlanta Division


In     Debtor(s)
Re:                                                       Case No.: 22−56521−sms
       Robert H McClure
                                                          Chapter: 11




                                      NOTICE TO DEBTOR
                            THAT COURSE ON FINANCIAL MANAGEMENT
                              IS REQUIRED TO RECEIVE DISCHARGE



      Upon review of the docket in the above−styled case, it appears that Debtor or Debtors
(hereinafter "Debtor") has not filed Form 423 (Certification About a Financial Management
Course) showing that Debtor has completed the personal financial management course or is
exempt. Sections 727(a)(11), 1141(d)(3)(C), and 1328(g) of Title 11, U.S.Code, require an
individual debtor in a Chapter 7, 11, or 13 case to complete an instructional course on personal
financial management after filing the case unless Debtor obtains an order granting an applicable
exemption provided by §109(h)(4). To comply with the course requirement, a debtor must
timely file Form 423 with the Clerk's office. See Bankruptcy Rule 1007(b) and (c) and Official
Form 423 (12/15). Failure to timely file Form 423 may result in the case being closed without
Debtor receiving a discharge.
      A Chapter 7 debtor must file Form 423 within 60 days after the first date set for the
meeting of creditors. Chapter 11 and 13 debtors must file Form 423 no later than the date the last
payment is made as required by the plan or the date a motion for entry of discharge is filed. If
Debtor subsequently files a motion to reopen the case in order to file Form 423, Debtor must pay
the appropriate fee to reopen the case. THIS NOTICE WILL BE THE ONLY REMINDER
ABOUT THE COURSE REQUIREMENT.
       This Notice will be served upon the Debtor, counsel for Debtor, and the Trustee.




Dated: August 22, 2022



** Mailing Address
 United States Bankruptcy Court
1340 United States Courthouse
75 Ted Turner Drive SW                                    M. Regina Thomas
Atlanta, GA 30303                                         Clerk of Court
                                                          U.S. Bankruptcy Court

Form 417 (Effective 12/01/2015)
